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 1   JENNY L. FOLEY, Ph.D., ESQ.
     Nevada Bar No. 9017
 2   E-mail: jfoley@hkm.com
     HKM EMPLOYMENT ATTORNEYS LLP
 3   1785 East Sahara, Suite 300
     Las Vegas, Nevada 89104
 4   Tel: (702) 805-8340
     Fax: (702) 805-8340
 5   E-mail: jfoley@hkm.com
     Attorneys for Plaintiff
 6
                                  UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA

 8    SADIE HELM, an Individual,
                                                       CASE NO.: 2:19-cv-00382-GMN-BNW
 9                        Plaintiff,

10    vs.                                                 STIPULATION AND ORDER FOR
                                                           DISMISSAL WITH PREJUDICE
11    CITY OF LAS VEGAS, CITY OF
      HENDERSON, MARIO RUEDA, an
12    Individual, RUBEN SANCHEZ, an
      Individual, JAMES SUAREZ, an Individual,
13    JONATHAN CUFF, an Individual, JOSEPH
      “JOE” VANEK, an Individual, CODY
14    RACINE, an Individual JASON TULLIS,
      an Individual, and ZACH YEOMAN, an
15    Individual, WILLIAM MCDONALD, an
      Individual, and as an Individual, JON
16    STEVENSON, an Individual, EDDIE
      VIGIL, an Individual, JOHN DOE #1, likely
17    an Individual, DOES I -X; ROE
      CORPORATIONS I -X,
18                        Defendants.

19          IT IS HEREBY STIPULATED by and between Plaintiff, SADIE HELM (“Plaintiff”) and

20   Defendants CITY OF LAS VEGAS, RUBEN SANCHEZ, an Individual, JAMES SUAREZ, an

21   Individual, JONATHAN CUFF, an Individual, JOSEPH “JOE” VANEK, an Individual,

22   WILLIAM MCDONALD, an Individual, JON STEVENSON, an Individual, EDDIE VIGIL, an

23   Individual, JOHN DOE #1, likely an Individual (“City Defendants”), by and through their

24   attorneys of record, that this matter be dismissed, and any and all claims Plaintiff had or may have


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 1   had against the City Defendants, that are contained in, reasonably related to, or could have been

 2   brought in the above-captioned action, are hereby dismissed, with prejudice, in their entirety.

 3          IT IS FURTHER STIPULATED that each party shall bear their own fees and costs.

 4          IT IS SO STIPULATED.

 5   DATED this 15 day of October, 2020.              DATED this 15 day of October, 2020.

 6   HKM EMPLOYMENT ATTORNEYS LLP                     BRYAN K. SCOTT, CITY ATTORNEY

 7
     By: /s/ Jenny L. Foley __________________ By:         /s/ Jeffrey L. Galliher ______________
 8      JENNY L. FOLEY (Bar No. 9017)                      JEFFREY L. GALLIHER
        1785 East Sahara, Suite 300                        Deputy City Attorney
 9      Las Vegas, Nevada 89104                            Nevada Bar No. 8078
        Telephone: (702) 805-8340                          495 South Main Street, Sixth Floor
        Facsimile: (702) 805-8340                          Las Vegas, NV 89101
10
        Email: jfoley@hkm.com
        Attorneys for Plaintiff
                                                           Attorneys for City Defendants
11
                                           ORDER
12                                             IT IS SO ORDERED.
                                               Dated this 17
                                                          __ day of October, 2020.
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15                                             Gloria M. Navarro, District Judge
                                               UNITED STATES DISTRICT COURT
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